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                       UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION


ECOFACTOR, INC.,

             Plaintiff,

v.
                                        Civil Action No. 6:22-cv-00069-ADA
RESIDEO TECHNOLOGIES, INC.,
                                           JURY TRIAL DEMANDED
             Defendant.



               DEFENDANT RESIDEO TECHNOLOGIES, INC.’S
        RESPONSE IN OPPOSITION TO PLAINTIFF ECOFACTOR, INC.’S
     MOTION TO EXCLUDE OPINIONS OF RESIDEO’S EXPERT KENT LARSON
                              (DKT. 92)
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No.         Short Name                Exhibit
Ex. 1       Resideo’s Disclosures     Defendant Resideo Technologies, Inc.’s First
                                      Supplemental Initial and Additional Disclosures
                                      (Feb. 22, 2023)
Ex. 2       Correspondence Mar. 23,   E-Mail Correspondence between J. Ma. and R.
            28, 2023                  Fernando (Mar. 23, 28, 2023) (highlighted)
Ex. 3       Larson Subpoena           Subpoena to Testify at a Deposition in a Civil Action
                                      to Kent Larson (Mar. 30, 2023)
Ex. 4       Correspondence Mar. 31,   E-Mail Correspondence between J. Ma. and R.
            2023                      Fernando (Mar. 31, 2023) (highlighted)
Ex. 5       Larson 30(b)(1) Dep.      Plaintiff EcoFactor’s Notice of Rule 30(b)(1)
            Notice                    Deposition of Kent Larson (Apr. 11, 2023)




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                                TABLE OF ABBREVIATIONS

        Abbreviation                                     Complete Name
    Plaintiff or EcoFactor       Plaintiff EcoFactor, Inc.
    Defendant or Resideo         Defendant Resideo Technologies, Inc.
         ’890 patent             U.S. Patent No. 10,584,890
    ’890 Asserted Claims         Claims 1-3, 5-6, 9-11, 14-15, and 17 of the ’890 patent1
       Motion or Mot.            Plaintiff EcoFactor, Inc.’s Motion to Exclude Expert Opinions
                                 of Resideo Technical Expert Kent Larson, Dkt. 92 (July 11,
                                 2023)
        Paradiso Rpt.            Opening Expert Report of Dr. Joseph Paradiso Regarding
                                 Invalidity of U.S. Patent No. 10,584,890, Dkt. 90, Ex. E (May
                                 12, 2023)
         Larson Rpt.             Expert Report of Kent Larson Regarding the MIT System,
                                 Dkt. 90, Ex. N (Apr. 20, 2023)
          Larson Tr.             Deposition Transcript of Kent Larson, Dkt. 90, Ex. G (Apr. 29,
                                 2023)

*All emphasis herein is added unless otherwise noted.
**As indicated in the table above, certain Exhibits cited herein are attached to the declaration
filed at Dkt. 90.




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  This identifies the subset of claims analyzed by EcoFactor’s technical expert on issues relating
to alleged infringement. EcoFactor’s Final Infringement Contentions (Dec. 9, 2022) alleged
infringement of additional claims, but those are not identified here. Resideo reserves the right to
address those additional claims to the extent EcoFactor later raises them.


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I.     INTRODUCTION

       EcoFactor has always known, and Resideo has always made clear, that Mr. Kent Larson

was a person having knowledge regarding public availability dates and background relating to the

MIT System, a timely-disclosed system prior art reference. Rather than waiting until expert

discovery, EcoFactor insisted on eliciting Mr. Larson’s factual testimony during fact discovery.

At every stage of the case, Resideo was transparent regarding Mr. Larson’s factual testimony, and

bent over backwards to disclose more than what was required regarding his relevant factual

knowledge and his opinions relating to the public availability of the MIT System.

       Now that EcoFactor realizes it is facing an uphill invalidity battle, its Motion seeks to

punish Resideo for providing extensive information regarding Mr. Larson’s opinions and factual

testimony by weaponizing his relevant, personal knowledge of the features and functionality of

the MIT System and by mischaracterizing him as a “phantom invalidity expert” on the ’890 patent.

As shown below, however, Mr. Larson’s factual testimony, based on his personal knowledge, is

proper and admissible. EcoFactor’s Motion should be denied.

II.    STATEMENT OF ISSUES TO BE DECIDED

       Whether Mr. Kent Larson, who provided expert opinions only on public availability of the

MIT System invalidity ground, may also rely on his personal knowledge to provide factual

testimony about the features and functionality of the MIT System.

III.   RELEVANT FACTUAL BACKGROUND

       The MIT System was a prior art GPS-controlled thermostat system. See Paradiso Rpt. at

¶ 111. Part of this system is conceptually illustrated below:




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Paradiso Rpt. at ¶ 176 (excerpt from MIT Thesis)




The MIT System used GPS data from a mobile phone (i.e., a Motorola 9Qh device) to determine

when the user began traveling home and accordingly adjust the setpoint of a thermostat (i.e., an

RCS TR40 device) to ensure the house was at a desired, comfortable temperature when the user

arrives home. See Paradiso Rpt. at ¶¶ 111-12. This prior art system was constructed as part of a

thesis paper authored by Mr. Manu Gupta and supervised by Mr. Kent Larson. See id. at ¶¶ 113-

14; Larson Rpt. at ¶¶ 21-23. Mr. Larson is expected to provide expert testimony at trial regarding

public availability and use of the MIT System. See Larson Rpt. at ¶¶ 17-32. He is also expected to

provide factual testimony at trial regarding content and operation of the MIT System, which he

personally supervised the construction of and observed in operation. Id. at ¶¶ 33-116.

       Resideo’s technical expert, Dr. Joseph Paradiso, opined that the ’890 Asserted Claims are

invalid based on the MIT System (among various theories of invalidity). See Paradiso Rpt. at ¶ 6.

In forming these invalidity opinions, Dr. Paradiso relied on many pieces of evidence from public

and non-public sources. First, Dr. Paradiso relied on Mr. Larson’s testimony, including his factual

testimony regarding the operation of the MIT System. See id. at ¶ 114. Second, Dr. Paradiso relied

on three documents—the thesis paper submission (“the MIT Thesis”), an article submission (“the

MIT Article”), and a presentation (“the MIT Presentation”)—to corroborate Mr. Larson’s



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testimony and describe the operation of the MIT System as a whole. See id. at ¶¶ 113, 115-19.

Third, Dr. Paradiso further relied on user manuals for the RCS TR40 thermostat and Motorola 9Qh

mobile phone that were used in the MIT System. See id. at ¶¶ 113, 120-22. Fourth, Dr. Paradiso

relied on testimony from Michael Hoffman, a VP of Engineering from UEI (formerly RCS)

regarding functionality in the RCS TR40 thermostat. See id. at ¶ 121. Fifth, Dr. Paradiso relied on

his own personal knowledge about the MIT System from when it was developed. See id. at ¶ 114.

       During fact discovery, Resideo provided EcoFactor with ample notice of intent to rely on

Mr. Larson’s factual testimony regarding the operation of the MIT System. On February 22, 2023,

Resideo supplemented its Initial and Additional Disclosures and identified Mr. Larson as a person

having “[k]nowledge regarding public availability dates and background relating to prior art

references.” Ex. 1 (Resideo’s Disclosures) at 3. Then, when EcoFactor indicated it was considering

subpoenaing Mr. Larson, Resideo explained that it identified Mr. Larson because “he may have

factual information in the identified area of knowledge” and because he would be submitting an

opening report, “a subpoena [wa]s not necessary and [Resideo] suggest[ed] that the parties defer

Mr. Larson’s deposition to expert discovery.” Ex. 2 (Correspondence Mar. 23, 28, 2023) at 1.

EcoFactor refused that approach. On March 30, 2023, EcoFactor issued a subpoena to Mr. Larson

“to see what knowledge he has of the facts of this case during fact discovery so that we have the

ability to follow-up with any issues stemming from his knowledge during fact discovery” and that

“[s]hould Resideo elect to have Mr. Larson issue an expert report, [EcoFactor] ha[d] the right to

depose him again.” Ex. 3 (Larson Subpoena); Ex. 4 (Correspondence Mar. 31, 2023). And on April

11, EcoFactor issued a Fed. R. Civ. P. 30(b)(1) notice to Mr. Larson, indicating that he was to be

deposed regarding his personal factual knowledge. Ex. 5 (Larson 30(b)(1) Dep. Notice).

       After that, EcoFactor had every opportunity to explore Mr. Larson’s opinions and his




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factual knowledge. On April 20, 2023, Mr. Larson submitted a report providing his (1) expert

testimony regarding public availability of the MIT System, and (2) factual testimony, based on his

personal knowledge, regarding the content and operation of the MIT System. See, e.g., Larson Rpt.

at §§ V-VI, ¶¶ 2, 5, 6. And on April 29, 2023—before the close of fact discovery and before the

start of expert discovery—Mr. Larson was deposed regarding his expert opinions on public

availability and his factual knowledge about the operation of the MIT System. See Larson Tr.

IV.    LEGAL STANDARD

       An expert’s testimony should be excluded if his or her methodology is unreliable or the

expert provides opinions divorced from the facts of the case. Wells v. SmithKline Beecham Corp.,

601 F.3d 375, 378 (5th Cir. 2010) (citation omitted). But simply disagreeing with the expert’s

opinion, or the weight he or she assigns to evidence, is not a sufficient basis to warrant exclusion.

Smith v. State Farm Lloyds, No. 4:21-CV-837, 2023 WL 359495, at *2 (E.D. Tex. Jan. 23, 2023)

(quoting Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 595 (2003)). “[I]ssues with [an

expert’s] . . . conclusions, not his methodology . . . are best addressed by ‘[v]igorous cross-

examination, presentation of contrary evidence, and careful instruction on the burden of proof.’”

Mobile Equity Corp. v. Walmart Inc., No. 2:21-cv-00126, 2022 WL 4492403, at *3 (E.D. Tex.

Sept. 27, 2022) (Payne, J.) (quoting Daubert, 509 U.S. at 596).

V.     ARGUMENT

       A.      Mr. Larson Provided Expert Opinions Relating to Public Availability of Prior
               Art.

       Realizing it faces a significant invalidity problem, EcoFactor incorrectly claims that Mr.

Larson provides expert opinions on the invalidity of the ’890 patent. That is not true. Mr. Larson

will not be asked to provide opinion testimony at trial as to whether the MIT System anticipates

or renders obvious any ’890 Asserted Claim. Mr. Larson was never identified as a technical expert



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on invalidity of the ’890 patent, nor was he ever asked to opine on invalidity. Mr. Larson’s report

also contains no legal requirements, standards, or guidance related to invalidity. Thus, EcoFactor’s

Motion is moot.

       To be clear, however, the parties agree that Mr. Larson is permitted to provide expert

opinions “about whether the MIT System was publicly available,” see, e.g., Mot. at 5, and that is

exactly what Mr. Larson did. As explained above in Section III, Resideo identified Mr. Larson

from the very beginning as having “[k]nowledge regarding public availability dates . . . relating

to prior art references.” Ex. 1 (Resideo’s Disclosures) at 3. Moreover, the “Legal Standards”

section of Mr. Larson’s report discusses standards regarding whether a reference may qualify as

being “publicly available.” See Larson Rpt. at § VI. After that, Mr. Larson’s report has a section

titled “Public Availability and Use of the MIT System,” which applies the legal standards for

public availability to facts that are within his personal knowledge. Specifically, Mr. Larson states

that he “personally observed the MIT System in use in 2008,” and then identifies documentary

evidence that corroborates his memory. See id. at ¶¶ 18-32. None of these expert opinions are

challenged by EcoFactor. See Mot. at 5.

       B.      Mr. Larson Provided Factual Testimony Relating to the Structure and
               Operation of the MIT System.

       In addition to providing expert opinions about public availability and use of the MIT

System, however, Mr. Larson should be permitted to provide factual testimony relating to the

structure and operation of that system—and that testimony does not make Mr. Larson a “Phantom

Invalidity Expert.” See, e.g., Mot. at 2, 5-7 (incorrectly painting Mr. Larson’s factual testimony as

an invalidity analysis). As explained earlier in Section III, Resideo identified Mr. Larson from the

very beginning as having “[k]nowledge regarding . . . background relating to prior art

references.” Ex. 1 (Resideo’s Disclosures) at 3. That is exactly what he did. Mr. Larson provided



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factual testimony based on his personal knowledge regarding the features, functionality, and

operation of the MIT System because, as demonstrated above, he was intimately involved in the

collaborative effort to design and develop the MIT System.

       This can be no surprise to EcoFactor. As also explained earlier in Section III, it was

EcoFactor that subpoenaed and issued a Fed. R. Civ. P. 30(b)(1) deposition notice Mr. Larson “to

see what knowledge he has of the facts of this case during fact discovery.” Ex. 3 (Larson

Subpoena); Ex. 5 (Larson 30(b)(1) Dep. Notice); Ex. 4 (Correspondence Mar. 31, 2023). After

insisting on deposing Mr. Larson and eliciting his factual testimony, EcoFactor cannot credibly

claim that Mr. Larson is precluded from “provid[ing] facts regarding . . . prior art as topics within

his own knowledge” and “testify[ing] regarding his background and experience in order to provide

an appropriate foundation for his fact testimony.” See, e.g., SynQor, Inc. v. Vicor Corp., No. 2:14-

CV-287-RWS, 2022 WL 4677581, at *7 (E.D. Tex. Sept. 30, 2022) (citing Maxell, Ltd. v. Apple

Inc., No. 5:19-CV-00036-RWS, 2021 WL 3021253, at *1-2 (E.D. Tex. Feb. 26, 2021)).

       Indeed, Resideo was trying to minimize the parties’ disputes when it asked Mr. Larson to

provide a factual overview of the MIT System in his report. That factual overview was not a

necessary part of Mr. Larson’s public availability analysis, but it was squarely within the scope of

EcoFactor’s subpoena and Fed. R. Civ. P. 30(b)(1) deposition notice. The factual overview of the

MIT System in Mr. Larson’s report was intended to provide advance notice to EcoFactor, as well

as minimize trial objections about Mr. Larson’s factual testimony being outside the scope of his

report. Resideo did more than was required to eliminate even a hint of prejudice or surprise to

EcoFactor—and EcoFactor’s Motion is now trying to punish Resideo for that.

       It is irrelevant that “[m]any of the features and functionalities Mr. Larson was asked about

are identical to the claim terms of the ’890 patent.” Mot. at 2. Mr. Larson testified that he has never




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seen the ’890 patent or even knew what the claims terms are. Larson Tr. at 19:13-16, 21:20-24.

And EcoFactor ignores that Mr. Larson was simply “using plain-and-ordinary meaning of terms

that are well understood in the industry.” See, e.g., id. at 25:8-11. Indeed, the Federal Circuit has

repeatedly explained that “’[c]laim language generally carries the ordinary meaning of the words

in their normal usage in the field of invention’ at the time of invention.” See Alloc, Inc. v. ITC, 342

F.3d 1361, 1368 (Fed. Cir. 2003). Mr. Larson’s use of the plain-and-ordinary meaning of terms

that were well understood in the industry does not transform his personal knowledge and factual

testimony into an expert invalidity opinion.

       EcoFactor also faults Mr. Larson’s report for including the Court’s claim constructions,

alleging not only that “the claim constructions could only be relevant to determing [sic] whether

the MIT System meets the asserted claims,” but that Mr. Larson also chose to disregard the Court’s

claim constructions anyways. See Mot. at 1, 6, 8. Both assertions are untrue. Mr. Larson did not

disregard the Claim Construction Order. In fact, he made abundantly clear that he reviewed the

claim constructions to confirm that it was applying the known, plain-and-ordinary meanings:

       Q. Okay. If you're not here to review any other patent claims, why did you put the
       claim constructions of patent claims in your report? . . . .
       THE WITNESS: My understanding was that was just to establish that the plain-
       and-ordinary meaning of terms like setpoint was to be used. . . .
       Q. So again, why would you use claim constructions in litigation involving claim
       terms for the ’890 patent in your report that involve you explaining what features
       and functionalities were in the MIT system? . . . .
       THE WITNESS: I think it was just to get on the record that we were not doing
       anything other using plain-and-ordinary meaning to these terms. . . .
       Q. What does this clarify?
       A. For me, it clarifies that we’re just using plain-and-ordinary meaning of terms
       that are well established in the industry.
See, e.g., Larson Tr. at 23:4-10, 24:7-14, 25:8-11. In addition, EcoFactor’s Motion has not

identified any example where Mr. Larson used any term or phrase inconsistently with the plain



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and ordinary meaning of a claim term. EcoFactor’s argument that Mr. Larson used a construed

term in any manner inconsistent with the Court’s Claim Construction Order is meritless.

       Nor does Mr. Larson’s discussion of a POSITA’s level of knowledge show that he was

providing invalidity opinions. See Mot. at 6. “Claim language generally carries the ordinary

meaning of the words in their normal usage in the field of invention’ at the time of invention.”

Alloc, 342 F.3d at 1368. By explaining the level of skill of a POSITA, Mr. Larson confirmed that

he was using the terms in a manner consistent with the plain-and-ordinary meaning as understood

by a POSITA at the time of the invention. see also Larson Tr. at 23:4-10, 24:7-14, 25:8-11. In

addition, Mr. Larson’s discussion of a POSITA’s level of skill is also relevant to his opinion that

the MIT System was publicly available and accessible prior to May 26, 2010. See, e.g., Medtronic,

Inc. v. Barry, 891 F.3d 1368, 1382 (Fed. Cir. 2018) (citing In re Klopfenstein, 380 F.3d 1345,

1350-51 (Fed. Cir. 2004)) (“The expertise of the target audience can be a factor in determining

public accessibility.”); Kinetic Concepts, Inc. v. Bluesky Med. Corp., No. SA-08-CV-102, 2010

WL 9098787, at *7 (W.D. Tex. Jan. 29, 2010).

       Thus, because Mr. Larson provided no opinion on invalidity, EcoFactor’s argument that

Mr. Larson did not perform a proper validity analysis is irrelevant and moot. Mr. Larson’s factual

testimony about the structure and operation of the MIT System should not be excluded.

VI.    CONCLUSION

       For the reasons above, Resideo respectfully requests denial of the Motion.




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Dated: July 25, 2023               Respectfully submitted,

                                   /s/ S. Benjamin Pleune
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                                 CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that that a true and correct copy of the above and

foregoing document and any exhibits thereto were filed electronically and served by e-mail on July

25, 2023, to all counsel of record.

                                            /s/ J. Ravindra Fernando
                                            J. Ravindra Fernando




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